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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS

                                                 )
 UNITED STATES OF AMERICA,                       )
                                                 )
                Plaintiff,                       )
                                                 )
        V.                                       )

 AEGERION PHARMACEUTICALS, INC.,                 ) No. 17-cv-11818-MLW
                                        )
                                        )
      and                               )
                                        )
 DR. CHARLES M. GERRITS, an individual, )
                                        )
           Defendants.                  )
                                        )

                     JOINT MOTION FOR ENTRY OF CONSENT DECREE

       The United States has moved to amend its complaint under Federal Rule of Civil Procedure

15(a)(2), with the written agreement of Defendants Aegerion Pharmaceuticals, Inc. ("Aegerion") and

Dr. Jeffrey D. Bloss ("Dr. Bloss"), the individual substituted for Dr. Charles M. Gerrits in the United

States' proposed Amended Complaint (ECF No. 12-1) (the "Parties"). Upon allowance of the pending

Motion to Amend (ECF No. 12), and the United States' subsequent filing of the Amended Complaint,

the Parties respectfully request that the Court enter the attached Consent Decree, which names the

correct individual defendant (Dr. Bloss).

       This Consent Decree has been negotiated by the Parties, through their counsel, to resolve the

Government's Amended Complaint, which alleged that defendants violate the Federal Food, Drug, and

Cosmetic Act, 21 U.S.C. § 301, et seq., by introducing or delivering, or causing to be introduced or

delivered, into interstate commerce drugs that are misbranded within the meaning of 21 U.S.C.

§ 352(f)(l) and 352(y); and by misbranding or causing drugs to become misbranded within the

meaning of21 U.S.C. § 352(f)(l) and 352(y). Defendants' consent to the pending amendment of the
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United States' complaint and to the entry of the consent decree is evidenced by their signatures below,

and the filing of this Motion.

       The resolution that the parties reached is fair, reasonable, and in the public interest, and entry of

the consent decree would efficiently resolve this matter by obviating the need for protracted litigation.

Respectfully submitted,

 ANDREW E. LELLING                                 Respectfully submitted,
 United States Attorney

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                                     CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the CM/ECF system will be sent electronically
to the registered participants as identified on the Notice of Electronic Filing.

 Dated: April 4, 2018                                    IslK.riss Basil




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                                                                 I




           Attachment A
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                        IN THE UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA,

Plaintiff,

        v.
AEGERION PHARMACEUTICALS, INC.,
                                                            Civil Action No. l 7-cv-11818-ML W
a corporation

and

DR. JEFFREY D. BLOSS, an individual,
Defendants.


                     CONSENT DECREE OF PERMANENT INJUNCTION

        Plaintiff, the United States of America, by its undersigned attorneys, having filed a

complaint for permanent injunctive relief against Aegerion Pharmaceuticals, Inc. ("Aegerion"), a

corporation, and Dr. Jeffrey D. Bloss (who was hired by Aegerion in June 2017 and assumed his

position as Senior Vice President and Chief Medical Officer in January 2018, after all the

investigations described in the Complaint were completed), an individual (collectively,

"Defendants"), and Defendants, having consented to entry of this Decree without contest,

without admitting or denying the allegations in the Complaint, and disclaiming any liability in

connection therewith except for Aegerion as to the admissions Aegerion makes in the plea

agreement in United States v. Aegerion, Inc., Criminal Action No. 17-10288-WGY (D. Mass.),

and before any testimony has been taken, and the United States of America, having consented to

this Decree;

        IT IS HEREBY ORDERED, ADJUDGED, AND DECREED as follows:
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1.   This Court has jurisdiction over the subject matter of this action and personal jurisdiction

     over all parties to this action pursuant to 28 U.S.C. § 1345 and 21 U.S.C. § 332(a).

2.   Venue is proper in this District under 28 U.S.C. § 1391(b) and (e),

3.   The Complaint for Permanent Injunction states a cause of action against Defendants

     under the Federal Food, Drug, and Cosmetic Act, 21 U.S.C. §§ 301 et seq. (the "Act").

     This Decree is in accordance with the Act and the Court's inherent equitable authority.

4.   The government alleges that Aegerion violated the Act, 21 U.S.C. § 331 (a), by

     introducing or causing to be introduced, or delivering or causing to be delivered for

     introduction into interstate commerce articles of drug that were misbranded within the

     meaning of21 U.S.C. § 352(£)(1) in that their labeling bore inadequate directions for use,

     and 21 U .S.C. § 352(y) in that Defendants failed to comply with a Risk Evaluation and

     Mitigation Strategy ("REMS") pursuant to 21 U.S.C. § 355(p).

5.   The government also alleges that Aegerion violated the Act, 21 U.S.C. § 33 l(k), by doing

     acts that resulted in the misbranding of articles of drug, within the meaning of 21 U .S.C.

     § 352(£)(1) and 21 U.S.C. § 352(y), while such drugs were held for sale after the

     shipment of one or more of their components in interstate commerce.

                                        DEFINITIONS

6.   For purposes of this Decree, the following definitions shall apply:

     A.     "Associated Persons" means each and all of Aegerion's directors, officers, agents,

             employees, representatives, successors, assigns, attorneys, and any and all persons

             in active concert or participation with any of them who are engaged in the

             operation of the Juxtapid REMS Program (including individuals, directors,




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      partnerships, corporations, subsidiaries, and affiliates) and who receive actual

      notice of this Decree by personal service or otherwise.

B.    "Days" refers to calendar days, including all Saturdays, Sundays, and federal

     holidays.

C.    "Detailing," in the context of this Decree, means interaction by, or at the direction

      of, a Covered Person with a healthcare provider, in person, by telephone, email, or

      other electronic media, or by direct mail, for the purpose of promoting Juxtapid.

D.    "Drug(s)" shall have the meaning given the term in 21 U.S.C. § 321(g)(l).

E.    "Covered Persons" includes:

      i.     all Aegerion employees engaged in or directly responsible for: (a) the

             selling, detailing, marketing, advertising, promoting, or branding of

             Juxtapid; and (b) the preparation or external dissemination of promotional

             materials or information about, or the provision of promotional services

             relating to, Juxtapid, including those functions relating to Aegerion' s

             review and approval processes for promotional materials and any

             applicable review committee(s);

      ii.    all Aegerion employees engaged in activities related to compliance with or

             training on any REMS Program requirements for Juxtapid; and

      iii.   all contractors, agents and other persons engaged in (a) the selling,

             detailing, marketing, advertising, promoting, or branding of Juxtapid;

              (b) the preparation or external dissemination of promotional materials or

              information about, or the provision of promotional services relating to,

             Juxtapid, including those functions relating to Aegerion's review and




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                     approval processes for promotional materials and any applicable review

                     committee(s); or (e) activities related to compliance with or training on

                     any REMS Program requirements for Juxtapid.

     F.     "Juxtapid" is the trade name of the pharmaceutical    drug, lomitapide mesylate,

            approved by the FDA as an adjunct to a low-fat diet and other lipid-lowering

            treatments, including LDL apheresis where available, to reduce low-density

             lipoprotein cholesterol (LDL-C), total cholesterol (TC), apolipoprotein B (apo B),

            and non-high-density    lipoprotein cholesterol (non-HDL-C) in patients with

            homozygous familial hypercholesterolemia      (HoFH).

     G.     "Juxtapid REMS Program" means all elements of the Risk Evaluation and

            Mitigation Strategy applicable to Juxtapid as of the date this Decree is entered,

             including any modifications of the REMS, or any changes to the Juxtapid REMS

             accepted by FDA during the term of this Decree.

                                INJUNCTION PROVISIONS

7.   Defendants and each and all of their Associated Persons are permanently restrained and

     enjoined under 21 U.S.C. § 332(a) from directly or indirectly doing or causing to be

     done, at any location, any act that:

     A.      violates 21 U.S.C. § 331(a) by introducing or delivering for introduction into

             interstate commerce, any article of drug that is misbranded within the meaning of

             21 U.S.C. §§ 352(f)(l) and 352(y); and,

     B.      violates 21 U.S.C. § 33 l(k) by causing any drug to become misbranded within the

             meaning of21 U.S.C. §§ 352(f)(l) and 352(y), while such drug is held for sale

             after shipment in interstate commerce.




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8.   Upon entry of this Decree, Defendants shall, consistent with the Juxtapid REMS

     Program:

     A.     With respect to healthcare providers:

            i.     provide mechanisms for healthcare providers to complete the certification

                   process for the Juxtapid REMS Program by email and fax;

            ii.    notify healthcare providers when they are certified by the Juxtapid REMS

                   Program;

            iii.   maintain a validated, secure database of healthcare providers who are

                   certified to prescribe Juxtapid in the Juxtapid REMS Program;

            iv.    require that healthcare providers who prescribe Juxtapid be certified in

                   compliance with the Juxtapid REMS Program and complete a Juxtapid

                   REMS Program Prescription Authorization Form for each new Juxtapid

                   prescription;

            v.     investigate all instances of healthcare provider potential noncompliance

                   with the Juxtapid REMS Program requirements;

            vi.    de-certify any healthcare provider who has demonstrated a pattern of

                   noncompliant prescribing, defined as any healthcare provider who

                   Aegerion determines, after completing its investigation, has not complied

                   with the Juxtapid REMS Program requirements on two or more occasions;

            vii.   provide the Juxtapid REMS Program Fact Sheet, Juxtapid REMS Program

                   Prescriber Training Module, Juxtapid REMS Program Patient Guide,

                   Juxtapid REMS Program Patient-Prescriber Acknowledgement Form,

                   Juxtapid REMS Program Prescription Authorization Form and the




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                                                                                           i!
                                                                                           I


                                                                                           I :

            Juxtapid Prescribing Information to healthcare providers who (1) attempt

            to prescribe Juxtapid and are not yet certified, or (2) inquire about how to

            become certified; and

     vm.    ensure that the REMS Letter for Healthcare Providers that was sent on

            February 22, 2017 and made available on the Juxtapid REMS Program

            Website (www.juxtapidREMSprogram.com) be available upon request

            from the Juxtapid REMS Program by phone at 1-855- JUXTAPID (1-855-

            898-2743).

B.   With respect to pharmacies:

     1.     require pharmacies that seek to dispense Juxtapid to designate an

            authorized representative;

     ii.    require such pharmacies' authorized representatives to complete and

            submit to Aegerion the Juxtapid REMS Program Pharmacy Enrollment

            Form;

     iii.   notify pharmacies when they are certified by the Juxtapid REMS Program;

     iv.    ensure that certified pharmacies are provided access to a database of

            certified prescribers and patients who have a completed Juxtapid REMS

            Program Patient-Prescriber Acknowledgement Form;

     v.     verify every twelve (12) months that the authorized representative's name

            and contact information corresponds to that of the current designated

            authorized representative for the certified pharmacy;

     vi.    require certified pharmacies to recertify in the Juxtapid REMS Program if

            a pharmacy designates a new authorized representative;




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      vii.    require certified pharmacies to maintain, and make available to Aegerion

              or a third party acting on behalf of Aegerion, documentation, including

              prescription data and training and verification records, to demonstrate that

              all processes and procedures are in place and are being followed for the

              Juxtapid REMS Program; and,

      viii.   require certified pharmacies to comply with audits by Aegerion, FDA, or a

              third party acting on behalf of Aegerion or FDA to ensure that all

              processes and procedures are in place and are being followed for the

              Juxtapid REMS Program.

 C.   With respect to the evidence of safe-use conditions for Juxtapid:

      i.      require that patients or their caregivers sign a Juxtapid REMS Program

              Patient-Prescriber   Acknowledgement    Form indicating that the patient has:

              (a) received and read the Juxtapid REMS Program Patient Guide; and (b)

              received counseling from his or her prescriber regarding the risk of

              hepatotoxicity, the need for periodic liver function monitoring, and

              appropriate patient selection for Juxtapid;

      ii.     provide mechanisms for certified prescribers to be able to submit

              completed Juxtapid REMS Program Patient-Prescriber       Acknowledgement

              Forms by email and fax;

      iii.    require that, before dispensing Juxtapid, pharmacies have: (a) reviewed

              the Prescribing Information and the Juxtapid REMS Program Fact Sheet;

              (b) completed the Juxtapid REMS Program Pharmacy Training Module

              and successfully completed the Knowledge Assessment; and ( e) trained all




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             relevant staff on appropriate procedures for dispensing Juxtapid in

             accordance with the Juxtapid REMS Program Pharmacy Training Module;

      iv.    require that certified pharmacies dispense Juxtapid to patients only if they

              can verify that, for each Juxtapid prescription there is: (a) a completed

             Juxtapid REMS Program Patient-Prescriber           Acknowledgement     Form; and

              (b) a prescription from a certified prescriber; and

      v.      require that certified pharmacies only fill new Juxtapid prescriptions if

             they can verify that there is a completed Juxtapid REMS Program

              Prescription Authorization       Form for each new Juxtapid prescription.

D.    Submit to FDA, at least ninety (90) days before administering, any survey

      methodology and protocols to which Defendants have made substantive changes

      (which methodology and protocols shall include at least: the target sample size;

      precision estimates associated with that sample size; a list of specific criteria that

      will be used to select participants in the survey; a description of how and when

      the surveys will be administered; an explanation of the design features and

      controls that will be included to minimize bias and compensate for any limitations

      in the methodology; and a copy of the survey questionnaire),       for the following

      surveys:

      1.         a "Knowledge, Attitudes, and Behavior" ("KAB") survey of a random

                 sample of certified prescribers to determine, for Juxtapid, prescribers'

                 awareness and understanding of: (a) the indication for use; (b) the risk of

                 hepatotoxicity, including appropriate evaluation, monitoring and

                 counseling to minimize this risk as described in the Prescribing




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                       Information, the Fact Sheet, and the Prescriber Training Module; ( e) the

                       Juxtapid REMS Program materials; and, (d) the Juxtapid REMS Program

                       requirements; and

               ii.     a Patient Knowledge survey to evaluate patient understanding of the

                       Juxtapid REMS goals concerning the risk of hepatotoxicity and the need

                       for baseline and periodic monitoring.

       E.      Receive written approval from FDA for the KAB and Patient Knowledge

               protocols, including any amended protocols, before administering either survey.

9.     Nothing in this Decree shall affect the date by which prescribers and pharmacies must be

       recertified in accordance with the Juxtapid REMS Program approved by FDA on January

       3, 2017, and any changes thereto approved by FDA or otherwise accepted by FDA.

1 O.   Nothing in this Decree shall alter Defendants'    requirement under the Juxtapid REMS

        Program to submit written assessments to FDA or FDA's ability to change the timetable

       for such assessments under the Juxtapid REMS Program, including by reducing the

       frequency of or eliminating the requirement to submit such assessments. The

       requirements of this Decree are in addition to, and not instead of, the Juxtapid REMS

       Program reporting requirements.

11.     Within ninety (90) days of entry of this Decree, Defendants shall retain an independent

       person or persons (the "Auditor") at Aegerion's    expense to review and monitor

       Defendants'   activities related to the Juxtapid REMS Program not less than once every

       twelve (12) months for a period of five (5) years. The Auditor shall be qualified by

        education, training, and experience to conduct such audits, and shall be without personal

        or financial ties ( other than a consulting agreement with Defendants) to Defendants'




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 officers or employees or their immediate families. Defendants shall notify FDA in

writing of the identity and qualifications of the Auditor as soon as they retain such

Auditor. The Auditor shall evaluate the Defendants'   REMS Assessment Reports ("REMS

Assessments")   for any non-compliance   with the Juxtapid REMS Program. Specifically,

the Auditor shall, consistent with the Juxtapid REMS Program:

A.      Evaluate Defendants'   implementation of the KAB and Patient Knowledge

        Surveys and whether Defendants adhered to the protocols and methodologies

        approved by FDA in Paragraph 8(E).

B.      Evaluate Defendants'   communications   with certified prescribers and certified

        pharmacies. The Auditor shall determine whether each REMS Assessment

        includes, at a minimum:

        i.      the date of mailing and number ofrecipients of the REMS Letter for

                Healthcare Providers and REMS Letter for Pharmacists;

        ii.     the number of mailings returned;

        111.    a representative copy of all documents included in each mailing;

        iv.     a summary of issues and complaints received by the Juxtapid REMS

                Program Call Center and a summary how these issues and complaints

                were resolved; and

        v.      a summary of the reasons (and numbers per reason) for calls into the

                Juxtapid REMS Program Call Center.

 C.     Evaluate Defendants' compliance with the prescriber certification requirements.

        The Auditor shall determine whether each REMS Assessment includes, at a

        minimum:




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      i.     the number of healthcare prescribers certified or re-certified in the

             Juxtapid REMS Program during the reporting period and cumulatively

             (stratified by prescriber degree, practice setting, geographic location and

             specialty);

      n.     the volume of prescriptions for each prescriber and each specialty,

             including a full breakdown of prescribing specialties contained in the

             "other" category;

      m.     the specialties of any "high volume" prescribers, i.e., those who write

             more than four (4) prescriptions in an assessment period and cumulatively,

             including a full breakdown of prescribing specialties contained in the

             "other" category;

      iv.    a summary of the method prescribers used to enroll during the reporting

             period and cumulatively; and

      v.     the number of healthcare providers that had their certification revoked

             during the reporting period and cumulatively and the reason for the

             revocation.

 D.   Evaluate Defendants' compliance with the wholesaler/distributor authorization

      requirements. The Auditor shall determine whether each REMS Assessment

      includes, at a minimum:

      1.     the number of wholesalers/distributors that were authorized in the REMS

             program, during the reporting period and cumulatively;




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      ii.    the number of wholesalers/distributors   that had their authorization revoked

             during the reporting period and cumulatively and the reason for the

             revocation;

      iii.   the number of Juxtapid orders shipped to pharmacies during the reporting

             period and cumulatively, including number of bottles, bottle size, and

             dosage strength; and

      iv.    the number of Juxtapid orders shipped to non-certified pharmacies.

E.    Evaluate Defendants' compliance with the pharmacy enrollment and metrics

      requirements. The Auditor shall determine whether each REMS Assessment

      includes, at a minimum:

      i.     the number of pharmacies that were certified or re-certified in the Juxtapid

             REMS Program during the reporting period and cumulatively;

      ii.    the number of pharmacies that had their certification revoked during the

             reporting period and cumulatively and the reason for the revocation;

      iii.   the number of new Juxtapid prescriptions received;

      iv.    the total number of prescriptions dispensed for Juxtapid, including

             quantity of capsules (mean, minimum, and maximum) and dosage strength

             during the reporting period and cumulatively;

      v.     the total number of Juxtapid prescriptions that were: (a) received from

             certified and non-certified healthcare providers; (b) dispensed without a

             signed attestation on the Juxtapid REMS Program Prescription

             Authorization Form; or (e) dispensed without a completed Juxtapid REMS

             Program Patient-Prescriber      Acknowledgement   Form;




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      vi.     the number and details concerning any prescribers that submitted an

              altered Juxtapid REMS Program Prescription Authorization Form, and

              whether pharmacies dispensed Juxtapid in response to such forms;

      VIL     the number and demographics (e.g., including gender, age, geographic

              location) of unique patients who received Juxtapid during the reporting

              period and cumulatively, calculated by reconciling orders dispensed to

              unique patients;

      viii.   duration of therapy for patients (mean, median, and range);

      IX.     the number of prescriptions pending or canceled, and an explanation for

              their status, including the specific criterion used to classify a prescription

              as canceled;

      x.      the number, length, and reasons for shipment delays to patients and

              whether or not these reasons were related to the REMS, and any additional

              information from insurance payers as to the reason for delay/non-payment;

              and

      xi.     the percentage of fill delays that involve new prescriptions versus refills.

 F.   Evaluate whether the Juxtapid REMS Program and Defendants' implementation

      thereof is meeting the goal to mitigate the risk ofhepatotoxicity    associated with

      Juxtapid, and whether Defendants have:

      i.      included a detailed description of the root cause of any noncompliance

              with the REMS Program, and any corrective and/or preventive actions

              taken to address the noncompliance;




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      ii.      provided an analysis of the post-marketing cases of specific hepatic

               adverse events reported in association with Juxtapid during the reporting

               period and cumulatively, and the outcome of such analysis;

      111.     specified measures that will be taken to increase awareness if the KAB

               survey indicates inadequate prescriber awareness of the risks associated

               with Juxtapid; and

      iv.      assessed the extent to which each approved strategy, including each

               element of each strategy, is meeting the goal or whether one or more such

               strategies or such elements should be modified.

G.    Prepare a written audit report (the "Audit Report") at the conclusion of each

      Audit, synthesizing the Auditor's observations, analyzing whether Defendants'

      operations are in compliance with the Juxtapid REMS Program and this Decree

      with respect to the Juxtapid REMS Program, and identifying in detail any

      deviations from the foregoing ("Audit Report Observations"). Each Audit Report

      shall:

      i.       list all records and information reviewed by the Auditor in connection

               with the report, including, but not limited to, call notes, emails, message

               recall studies, and prescription data, and whether the Auditor requires

               additional information or materials to evaluate compliance;

      ii.      assess the adequacy of corrective actions taken by Defendants to correct

               all·previous Audit Report Observations;




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              iii.    include the survey results and summaries and analyses for all of the

                      completed KAB and Patient Knowledge surveys, if not included in

                      Defendants'   REMS Assessment;

              iv.     contain a written assessment of the Defendants'    compliance with the

                      requirements of the Act, its regulations, and this Decree with respect to its

                      operation of the Juxtapid REMS program, including any adverse

                      observations that indicate inconsistency with the Juxtapid REMS Program

                       and goals; and,

              v.       be completed and delivered contemporaneously      to Defendants and FDA

                       by courier service or overnight delivery service, no later than sixty (60)

                       days after Defendants submit each REMS Assessment to FDA.

12.    Defendants shall maintain complete Audit Reports and all of their underlying data in

      readily-accessible   files at their facilities and shall promptly make the Audit Reports and

       underlying data available to FDA upon request. Additionally,     if an Audit Report contains

       any Audit Report Observations, Defendants shall, within forty-five (45) days after receipt

       of the Audit Report, take action to correct those observations, unless FDA notifies

       Defendants that a shorter time period is necessary.   If, after receiving the Audit Report,

       Defendants believe that any action they plan to take to correct any Audit Report

       Observation will take longer than forty-five (45) days, or any shorter period required by

       FDA, Defendants shall, within fifteen (15) days after receipt of the Audit Report, propose

       a schedule for completing such actions ("Action Schedule") and provide justification for

       the additional time. That Action Schedule must be reviewed and approved by FDA in

       writing. Defendants shall complete all corrections according to the approved Action




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       Schedule and notify the Auditor when such actions are complete. Within thirty (30) days

       after being notified that Defendants have taken actions to correct the Audit Report

       Observations, the Auditor shall review the actions taken by Defendants to correct the

       Audit Report Observation(s). Within fifteen (15) days of completing the review, the

       Auditor shall complete and deliver a written report contemporaneously     to Defendants and

       FDA by courier service or overnight delivery service addressing whether each of the

       Audit Report Observations has been corrected and, if not, which adverse Audit Report

       Observations remain uncorrected; explaining the Auditor's basis for such a

       determination;   and identifying the actions required by Defendants to correct each of the

       Audit Report Observations.

13.    In the event Defendants replace the Auditor required by this Decree, Defendants shall

       notify FDA in writing of this change within thirty (30) days after such replacement. In

       satisfying the requirements of this Decree, any Auditor may review the previous

       Auditor's work, and refer to such work to satisfy the requirements of the Decree;

       however, when such work is referenced by the new Auditor, he or she shall identify the

       specific prior work referenced.

14.    If, at any time after entry of this Decree, FDA determines, based on the results of an

       inspection, a report submitted by Defendants, the Auditor, or any other information, that

       Defendants have failed to comply with any provision of this Decree, the Act, or its

       implementing regulations with respect to the operation of the Juxtapid REMS Program,
                                                                                                     ,,·,--
                                                                                                     ,·_,


       or that additional corrective actions are necessary to achieve compliance with this           ~~

       Decree, the Act, or its implementing regulations with respect to the operation of the

       Juxtapid REMS Program, FDA may, as and when it deems necessary, notify Defendants




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       in writing of the noncompliance    and order Defendants to take appropriate corrective

       action, including, but not limited to, ordering Defendants to immediately take one or

       more of the following actions:

       A.      Cease selling, detailing, and/or distributing Juxtapid;

       B.      Revise, modify, expand, or continue to submit any reports or plans prepared

               pursuant to this Decree;

       C.      Submit additional reports or information to FDA as requested;

       D.      Issue a safety alert; and/or

       E.      Take any other corrective actions as FDA, in its discretion, deems necessary to

               bring Defendants into compliance with this Decree, the Act, and its implementing

               regulations with respect to the Juxtapid REMS Program, including instituting or

               re-implementing any of the requirements set forth in this Decree.

The provisions of this Paragraph shall be apart from, and in addition to, all other remedies

available to FDA.

15.    The following process and procedures shall apply in the event that FDA issues an order

       under Paragraph 14:

       A.      Upon receipt of any order issued by FDA pursuant to Paragraph 14, Defendants

               shall, within ten (1 O) business days after receiving such order, notify FDA in

               writing either that: (i) Defendants are undertaking or have undertaken corrective

               action(s), in which event Defendants shall describe the specific action(s) taken or

               proposed to be taken and the proposed schedule for completing the action(s); or

               (ii) Defendants do not agree with FDA's order. If Defendants notify FDA that

               they do not agree with FDA's order, Defendants shall explain in writing the basis




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      for their disagreement; in doing so, Defendants may also propose specific

      alternative actions and specific time frames for achieving FDA's objectives.

B.    If Defendants notify FDA that they do not agree with FD A's order, FDA will

      review Defendants'   notification and thereafter, in writing, affirm, modify, or

      withdraw its order, as FDA deems appropriate. If PDA affirms or modifies its

      order, it will explain the basis for its decision in writing. The written notice of

      affirmation or modification shall constitute final agency action.

C.    If FDA affirms or modifies its order, Defendants shall, upon receipt ofFDA's

      notice of affirmation or modification,   immediately implement the order (as

      modified, if applicable), and, if they so choose, bring the matter before this Co uti

      on an expedited basis. Defendants shall continue to diligently implement FDA's

      order, as modified if applicable, unless the Court sets aside, stays, reverses,

      vacates, or modifies FDA's order. Any review ofFDA's order under this

      Paragraph shall be made in accordance with the terms set forth in Paragraph 32.

 D.   The procedures set forth in Paragraphs 15(A)-15(C) shall not apply to any order

      issued under Paragraph 14 if such order states that it is based on FDA's judgment

      that the matter raises significant public health concerns, and FDA's judgment and

      basis for such decision are stated in the order. In such case, Defendants shall

      immediately and fully comply with the terms of that order. If they so choose,

      Defendants may bring the matter before this Court on an expedited basis.

      Defendants shall continue to diligently implement FDA's order, unless the Court

      sets aside, stays, reverses, vacates, or modifies FDA's order. Any review of




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      FDA's order under this Paragraph shall be made in accordance with the terms set

      forth in Paragraph 32.

 E.   Any cessation of operations or other action described in Paragraphs 14 or 15 shall

      continue until Defendants receive written notification from FDA that Defendants

      appear to be in compliance with this Decree, the Act, and its implementing

      regulations with respect to the operation of the Juxtapid REMS Program, and that

      Defendants may resume operations. Defendants may at any time submit a request

      to FDA in writing to discontinue any cessation of operations or other action

      described in Paragraph 14. After receiving Defendants'     written request to resume

      operations, FDA will determine whether it needs to inspect any of Defendants'

      facilities to determine Defendants'    compliance with this Decree, the Act, and its

      implementing regulations with respect to the operation of the Juxtapid REMS

      Program. If FDA determines that an inspection is necessary, it shall conduct the

      inspection and determine whether Defendants appear to be in compliance with

      this Decree, the Act, and its implementing regulations with respect to the

      operation of the Juxtapid REMS Program, and, if so, FDA will issue to

      Defendants a written notification permitting resumption of operations.

      Irrespective of FDA's decision to conduct an inspection, FDA will decide within

      sixty (60) days after receipt of the Defendants' written request whether

      Defendants appear to be in compliance and, if so, issue to Defendants a written

      notification permitting resumption of actions described in Paragraph 14. The cost

      of FDA's inspections, sampling, testing, travel time, and subsistence expenses to




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              implement the remedies set forth in Paragraphs 14 and 15 shall be borne by

              Defendants at the rates specified in Paragraph 27.

16.    Within thirty (30) days after entry of this Decree, Defendants shall post a letter in a

       prominent place on the main page of its company website and for a period of three years

       thereafter. This letter shall be dated and shall be signed by Aegerion's Board Chair and

       shall contain the language set forth below:

              As you may be aware, Aegerion Pharmaceuticals, Inc. (Aegerion) recently
              entered into a global civil, criminal, and administrative settlement with the United
              States and individual states in connection with Aegerion's promotion and sales of
              its product Juxtapid. This letter provides you with additional information about
              the global settlement, explains Aegerion's commitments going forward, and
              provides you with access to information about those commitments.

              In general terms, the Government alleges that Aegerion engaged in several types
              of unlawful and improper conduct. More specifically, the Government alleges that
              Aegerion unlawfully distributed Juxtapid for intended uses not approved by FDA
              and failed to comply with a Risk Evaluation and Mitigation Strategy required by
              the FDA for Juxtapid. The Government also alleges that certain Aegerion
              employees made false and misleading statements about Juxtapid, that the
              company violated certain patient privacy requirements, and that Aegerion made
              payments to an independent charity for patient co-payment assistance that
              violated the Anti-kickback Statute.

              To address these issues, Aegerion pleaded guilty to violating the Federal Food,
              Drug, and Cosmetic Act and agreed to pay approximately $7 million in criminal
              fines and forfeiture. Aegerion also entered into a five-year Deferred Prosecution
              Agreement to resolve claims that it violated the Health Insurance Portability and
              Accountability Act of 1996 (HIP AA). Separately, Aegerion agreed to enter into a
              civil Consent Decree of Permanent Injunction to be monitored by the U.S. Food
              and Drug Administration (FDA).

              In addition, the federal government and several individual states alleged that
              Aegerion's conduct violated the federal False Claims Act and equivalent state
              statutes. To resolve those allegations, Aegerion entered into a separate civil False
              Claims Act settlement whereby Aegerion agreed to reimburse federal and state
              health care programs approximately $29 million.

              Finally, the Securities and Exchange Commission alleged that Aegerion's conduct
              violated federal security statutes. To resolve those allegations, Aegerion entered
              into a separate civil securities settlement whereby Aegerion agreed to pay




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               approximately $4 million. Copies of and more information about these
               settlements may be found at the following website:

                       https:! /www.justice.gov/civil/current-and-recent-cases#_    Pharm2

               As part of the global settlement, Aegerion also entered into a five-year corporate
               integrity agreement with the Office oflnspector General of the U.S. Department
               of Health and Human Services. The corporate integrity agreement is available at
               http://oig.hhs.gov/fraud/cia/index.html.    Under this agreement, Aegerion agreed to
               undertake certain obligations designed to promote compliance with Federal health
               care program and FDA requirements. We also agreed to notify healthcare
               providers about the settlement and inform them that they can report any
               questionable practices by Aegerion's representatives to Aegerion's Compliance
               organization or the FDA using the information set out below. Please call
               Aegerion at 1-855-463-8974 or visit us at http://novelion.com/about-
               nove I ion/ aegeri on-pharmaceuticals/ aegerion-governm ent-settlement if you have
               questions about the settlement referenced above. Please call Aegerion at 1-855-
               233-8089 or visit us at https://novelioncompliance.tnwreports.com      to report any
               instances in which you believe that an Aegerion representative inappropriately
               promoted a product or engaged in other questionable conduct. Alternatively, you
               may report any improper conduct associated with prescription drug marketing
               committed by an Aegerion Representative to the FD A's Office of Prescription
               Drug Promotion at 301-796-1200. Y ou should direct medical questions or
               concerns about Aegerion products to 1-855-303-2347 or
               http://www.novelion.com/physician-resources/global-medical-information.

Within thirty five (35) days after entry of this Decree, Defendants shall provide to FDA an

affidavit, from a person with personal knowledge of the facts stated therein, stating the fact and

manner of their compliance with this Paragraph.

17.    Within thirty (30) days after entry of this Decree, Defendants shall communicate to all

       Covered Persons that Defendants have entered into this Decree and describe the terms

       and obligations of this Decree. Within thirty-five (35) days after entry of this Decree,

       Defendants shall provide to FDA an affidavit, from a person with personal knowledge of

       the facts stated therein, stating the fact and manner of their compliance with this

       Paragraph and a copy of the communication(s)        sent pursuant to this Paragraph.

18.    Within fifteen (15) days after entry of this Decree, Defendants shall provide a copy of the

       Decree by personal service, electronic mail, or certified mail (return receipt requested) to


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       each and all Covered Persons and Associated Persons. Within twenty (20) days after

       entry of this Decree, Defendants shall provide to FDA an affidavit, from a person with

       personal knowledge of the facts stated therein, stating the fact and manner of Defendants'

       compliance with this Paragraph, and identifying the names, street or electronic mail

       addresses (as applicable), and positions of all persons who have received a copy of this

       Decree in accordance with this Paragraph.

19.    In the event that any of the Defendants becomes associated with additional Associated

       Persons at any time after entry of this Decree, Defendants shall, within fifteen ( 15) days

       of the commencement     of such association, provide a copy of this Decree, by personal

       service, electronic mail, or certified mail (restricted delivery, return receipt requested), to

       such Associated Persons. Defendants shall, every twelve (12) months, provide FDA an

       affidavit, from a person with personal knowledge of the facts stated therein, stating the

       fact and manner of Defendants' compliance with this Paragraph, identifying the names,

       street or electronic mail addresses (as applicable), and positions of all Associated Persons

       who received a copy of this Decree pursuant to this Paragraph. Within ten (1 O) days of

       receiving a request from FDA for any information or documentation FDA deems

       necessary to evaluate compliance with this Paragraph, Defendants shall provide such

       information or documentation to FDA.

20.    Aegerion shall notify FDA, in writing, at the address specified in Paragraph 29, at least

       ten (1 O) days before any change in ownership, character, or name of their business, such

       as dissolution, assignment, or sale resulting in the emergence of a successor corporation,

       the creation or dissolution of subsidiaries, franchises, affiliates, or "doing business as"

       entities that may affect the operations, assets, rights, or liabilities of Aegerion in the




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      United States, or any other change in the organizational structure of Aegerion or in the

      sale or assignment of any business assets, such as buildings, equipment, or inventory, that

      may affect compliance with this Decree. Aegerion shall provide a copy of this Decree to

      any potential successor or assignee at least fifteen ( 15) days before any sale or

      assignment. Aegerion shall furnish FDA with an affidavit, from a person with personal

      knowledge of the facts stated therein, stating the fact and manner of their compliance

      with this Paragraph no later than ten (1 O) days prior to such assignment or change in

      ownership.

21.   Should Aegerion intend to permanently transfer all rights to Juxtapid, including the

      responsibilities related to its marketing, compliance with the FDCA and its implementing

      regulations, and the Juxtapid REMS, it must notify FDA as required by Paragraph 20,

      and provide FDA, within ten (10) days, with any additional information about the

      transaction that the agency may request. No sooner than sixty (60) days after providing

      FDA with any additional information requested by the agency under this Paragraph, or if

      no such information is requested within sixty (60) days of Aegerion providing notice

      under Paragraph 20, Aegerion may petition the Court to substitute the entity obtaining the

      rights to Juxtapid as the corporate Defendant under this Consent Decree ("Substitute

      Corporate Defendant"). Aegerion shall remain bound as the Corporate Defendant under

      this Decree unless and until the Substitute Corporate Defendant agrees in writing to be

      bound by this Consent Decree and is so ordered by the Court.

22.    If Defendant Bloss's responsibilities are materially reduced or altered, or his position is

      eliminated, Aegerion shall petition the Court to substitute for him an individual

      Defendant that is either his successor or the individual or individuals vested with the




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      responsibility for the Juxtapid REMS program and regulatory compliance with the Act,

      its regulations, and this Decree. If removing an individual Defendant would result in no

      individual Defendant being subject to this Decree, Aegerion shall designate an individual

      or individuals of similar position and responsibility to be substituted as Defendant(s)

      ("Substitute Individual Defendant(s)"), and provide FDA with the name(s), position

      description(s), and organizational chart(s) demonstrating the position and responsibilities

      for the proposed Substitute Individual Defendant(s). Aegerion shall petition the Court to

      substitute the Substitute Individual Defendant(s) for Defendant Bloss and the United

      States will not oppose such a motion so long as FDA has sufficient evidence or

      information regarding the position and responsibilities of the proposed Substitute

      Individual Defendant(s).

23.   FDA shall be permitted, without prior notice and when FDA deems necessary, to make

      inspections of the Defendants' place(s) of business during reasonable times and within

      reasonable limits and in a reasonable manner, and, without prior notice, take any other

      measures necessary to monitor and ensure continuing compliance with the terms of this

      Decree, the Act, and FDA regulations with respect to the Juxtapid REMS Program.

      During inspections, FDA shall be permitted to have ready access to buildings, equipment,

      products, labeling, and other materials therein; take photographs and make video

      recordings; take samples of Defendants' products, containers, packaging material,

       labeling, and other materials; and examine and copy all records relating to the importing,

       receiving, manufacturing, preparing, processing, packing, labeling, holding, and/or

       distributing of any and all drugs and their respective components. FDA will provide

       Defendants with a receipt for any samples taken pursuant to 21 U.S.C. § 374 and with




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       copies of any photographs and video recordings made, upon a written request by

       Defendants and at Aegerion's expense. The inspections shall be permitted upon

       presentation of a copy of this Decree and appropriate credentials. The inspection

       authority granted by this Decree is separate from, and in addition to, the authority to

       make inspections under the Act, 21 U.S.C. § 374.

24.    Defendants'   obligations under this Decree do not modify or absolve them from any

       prospective obligation to comply with the Act or its implementing regulations or any

       other federal statute or regulation.

25.   Nothing in this Decree shall affect FDA's authority to suspend or revoke any applications

       pursuant to 21 U.S.C. § 355(e) or either party's ability to take any other action authorized

       by the Act or its implementing regulations, including any action related to the Juxtapid

       REMS Program.

                                    FINANCIAL PROVISIONS

26.    Should Defendants    fail to comply with any provision of this Decree, the Act, or its

       implementing regulations with respect to the operation of the Juxtapid REMS Program,

       Aegerion shall pay to the United States of America ten thousand dollars ($10,000) in

       liquidated damages for each such violation of this Decree, the Act, and/or its

       implementing regulations, and an additional ten thousand dollars ($10,000) in liquidated

       damages per day, per violation, for each violation of this Decree, the Act, and/or its

       implementing regulations with respect to the operation of the Juxtapid REMS Program.

       The total payments under this Paragraph shall not exceed one million dollars
                                                                                                      I
                                                                                                      I

       ($1,000,000). Defendants understand and agree that the liquidated damages specified in

       this Paragraph are not punitive in nature and their imposition does not in any way limit




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      the ability of the United States to seek, and the Court to impose, additional civil or

      criminal penalties based on conduct that may also be the basis for payment of the

      liquidated damages.

27.   Aegerion shall pay all costs of all FDA inspections, investigations, analyses,

      examinations,     sampling, reviews, document preparation, testing, travel, and subsistence

      expenses that FDA deems necessary to evaluate Defendants'        compliance with any part of

      this Decree, at the standard rates prevailing at the time costs are incurred. For the

      purposes of this Decree, inspections include, but are not limited to, FDA's review and

      analysis of Defendants' claims for their products in the product labels, labeling,

      promotional materials, and any and all websites or any other media owned or controlled

      by or related to Aegerion or their articles of drug. As of the date that this Decree is signed

      by the parties, these rates are: $90.65 per hour and fraction thereof per representative for

       inspection or investigative work; $108.83 per hour or fraction thereof per representative

      for analytical or review work; $0.54 per mile for travel by automobile; government rate

       or the equivalent for travel by air or other means; and the published government per diem

       rate or the equivalent for the areas in which the inspections are performed per

       representative   and per day for subsistence expenses. FDA shall submit a reasonably

       detailed bill of costs to Aegerion. In the event that the standard rates applicable to FDA

       supervision of court-ordered compliance are modified, these rates shall be increased or

       decreased without further order of the Court,

28.    Should the United States bring and prevail in a contempt action to enforce the terms of

       this Decree, Aegerion shall, in addition to other remedies, reimburse the United States for

       its attorneys' fees and overhead, investigational and analytical expenses, expert witness




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      fees, travel expenses incurred by attorneys and witnesses, and court costs relating to such

      contempt proceedings.

                                   GENERAL PROVISIONS

29.   Defendants shall address all communications     required under this Decree to Director,

      Office of Compliance, CDER, Building 51, Room 5270, 10903 New Hampshire Ave.,

      Silver Spring, MD 20993, shall prominently mark the envelope as "DECREE

      CORRESPONDENCE,"          and shall reference this civil action by case name and civil

      action number. Unless otherwise specified, all notifications, certifications, reports,

      correspondence,   and other communications     to Defendants required by the terms of this

      Decree shall be addressed to Aegerion' s Chief Legal Officer with copy to Aegerion' s

      President, Aegerion Pharmaceuticals,    Inc., One Main Street, Cambridge, MA 02142.

30.   If any deadline in this Decree falls on a weekend or federal holiday, the deadline shall be

      continued to the next business day.

31.   The parties may at any time petition each other in writing to modify any deadline

      provided herein, and if the parties mutually agree in writing to modify a deadline, such

      extension may be granted without seeking leave of Court.

32.   All decisions conferred upon FDA in this Decree or under the Act or its implementing

      regulations shall be vested in the discretion ofFDA. FDA's decisions shall be final and,

       if challenged, shall be reviewed by the Court under the arbitrary and capricious standard

       set forth in 5 U.S.C. § 706(2)(A). Review by the Court of any FDA decision rendered

      pursuant to this Decree shall be based exclusively on the written record before FDA at

      the time the decision was made. No discovery shall be taken by either party.




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33.    In all instances where FDA is required to provide written notification to Defendants

       under this Decree, FDA's silence shall not be construed as a substitute for written

       notification.

34.    If, and for so long as, an individual Defendant ceases to be employed by and to act on

       behalf of Aegerion or any of its subsidiaries, franchises, affiliates, or "doing business as"

       entities, then that individual shall not be subject to this Decree, except as to such

       individual's act(s) or failure(s) to act under this Decree prior to the time such individual

       ceased to be employed by and to act on behalf of Aegerion or any of its subsidiaries,

       franchises, affiliates, or "doing business as" entities.

35.    If Defendants have maintained a state of continuous compliance with the Juxtapid REMS

       Program, the Act, its implementing regulations, and this Decree for at least 60 months

       after entry of this Decree, Defendants may petition the Court for relief from this Decree,

       and the Government will not oppose the petition.

36.    This Court retains jurisdiction over this action and the parties thereto for the purpose of

       enforcing and modifying this Decree and for the purpose of granting such additional

       relief as may be necessary or appropriate.



SO ORDERED, this __          Day of                    , 2018




                                                  MARKL. WOLF
                                                  UNITED STATES DISTRICT JUDGE




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The undersigned hereby consent to entry of the foregoing Decree:


   FOR DEFENDANTS                                      FOR PLAINTIFF



                                                       ANDREW E. LELLING
   JEFFREY D. BLOSS                                    Attorney for the United States
   individually, and on behalf of AEG ERION
   PHARMACEUTICALS,          INC.




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                                                       CHAD A. READLER
                                                       Acting Assistant Attorney General

                                                       GUST AV W. EYLER



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                                                       General Counsel

                                                       REBECCA K. WOOD
                                                       Chief Counsel
                                                       Food and Drug Division



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The undersigned hereby consent to entry of the foregoing Decree:

   FOR DEFENDANTS                                                 FOR PLAINTIFF

                         Digitally signed by Jeffrey Bloss
                         Date: 2018.02.20 09:58:49
                         -05'00'
                                                                  ANDREW E. LELLING
   JEFFREY D. BLOSS                                               Attorney for the United States
   individually, and on behalf of AEGERION
   PHARMACEUTICALS, INC.




                                                                  KRISS BASIL
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                                                                  CHAD A. READLER
                                                                  Acting Assistant Attorney General

                                                                  GUSTA V W. EYLER
                                                                  Acting Director, Consumer Protection Branch
                                  , ''

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